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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :       Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al.,                            :       Case No. 19-10412 (JLG)
                                                               :
                                      1
                           Debtors.                            :       (Jointly Administered)
                                                               :       Related Docket Nos. 146, 147, 150, 315,
                                                               :       316, 470, 516, 543
---------------------------------------------------------------X

                      ORDER (I) APPROVING DISCLOSURE
                   STATEMENT AND NOTICE OF DISCLOSURE
            STATEMENT HEARING, (II) ESTABLISHING SOLICITATION
         AND VOTING PROCEDURES, (III) SCHEDULING CONFIRMATION
    HEARING, (IV) APPROVING CONFIRMATION OBJECTION PROCEDURES AND
    NOTICE OF CONFIRMATION HEARING, AND (V) GRANTING RELATED RELIEF

                    Upon the motion, dated March 5, 2019 (the “Motion”),2 of Ditech Holding

Corporation and its debtor affiliates, as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”), pursuant to sections 105, 502, 1125, 1126, and 1128

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 3003, 3016, 3017,

3018, 3020, and 9006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and Rules 2002-1, 3017-1, 3018-1, 3020-1, and 9006-1 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”), for entry of order (a) approving the Disclosure

Statement as containing adequate information pursuant to section 1125 of the Bankruptcy Code;


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
      Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
      Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
      Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
      Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
      (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
      Drive, Suite 100, Fort Washington, Pennsylvania 19034.
2
      Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
      terms in the Motion or in the Plan, as applicable.



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(b) approving the form and manner of the Disclosure Statement Notice; (c) scheduling the

Confirmation Hearing to consider confirmation of the Plan; (d) approving objection procedures to

the confirmation of the Debtors’ Plan, and the form and manner of the Confirmation Hearing

Notice, substantially in the form attached hereto as Schedule 1; and (e) approving certain

solicitation and voting procedures in connection with the Plan, including, among other things, the

form of Ballot, substantially in the form attached hereto as Schedule 2; all as more fully set forth

in the Motion; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference M-

431, dated January 31, 2012 (Preska, C.J.); and consideration of the Motion and the requested

relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before the

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having

been provided to the parties listed therein as set forth in the affidavits of service filed with respect

thereto [ECF Nos. 169 and 173]; and such notice having been adequate and appropriate under the

circumstances, and it appearing that no other or further notice need be provided; and the Court

having reviewed the Motion; and the Court having held a hearing to consider the relief requested

in the Motion on May 10, 2019 (the “Hearing”); and upon the record of the Hearing; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and it appearing that the relief requested in the Motion is in the best

interests of the Debtors, their Estates, creditors, and all parties in interest; and upon all of the




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proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor,

                    IT IS HEREBY FOUND AND DETERMINED THAT:3

                    A.        Jurisdiction and Venue.         Consideration of the Motion and the relief

requested therein is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409. The Court has jurisdiction to consider the Motion

and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334, and Amended

Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.).

                    B.        Statutory and Legal Predicates. The statutory and legal predicates for the

relief requested in the Motion are sections 105, 502, 1125, 1126, and 1128 of the Bankruptcy Code,

Bankruptcy Rules 2002, 3003, 3016, 3017, 3018, 3020, and 9006, and Local Rules 2002-1, 3017-

1, 3018-1, 3020-1, and 9006-1.

                    C.        Notice of the Disclosure Statement Hearing and Disclosure Statement

Objection Deadline. The procedures proposed in the Motion providing notice to all parties of the

time, date, and place of the hearing to consider approval of the Disclosure Statement

(the “Disclosure Statement Hearing”) and the deadline for filing objections to the Disclosure

Statement and the publication of notice of the Disclosure Statement Hearing in the national

editions of The New York Times and USA Today, provide due, proper, and adequate notice,

comport with due process and comply with Bankruptcy Rules 2002 and 3017 and Local Rule 3017-

1. No further notice is required.




3
      The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
      pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
      the extent any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
      extent any of the following conclusions of law constitute findings of fact, they are adopted as such.


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                    D.        The Disclosure Statement. The Disclosure Statement contains adequate

information within the meaning of section 1125 of the Bankruptcy Code.

                    E.        Balloting and Voting Procedures. The procedures set forth in this Order for

the solicitation and tabulation of votes to accept or reject the Plan provide for a fair and equitable

voting process and are consistent with section 1126 of the Bankruptcy Code.

                    F.        Ballot. The ballot substantially in the form annexed hereto as Schedule 2

(the “Ballot”), including all voting instructions provided therein, is consistent with Official

Bankruptcy Form No. B 314, addresses the particular needs of these chapter 11 cases, and provides

adequate information and instructions for each individual entitled to vote to accept or reject the

Plan. No further information or instructions are necessary.

                    G.        Parties Entitled to Vote. Pursuant to the Plan, holders of Claims in Class 3

(Term Loan Claims) are entitled to vote on account of such Claims.

                    H.        Parties Not Entitled to Vote. Pursuant to the Plan, holders of Claims in

Class 1 (Priority Non-Tax Claims), Class 2 (Other Secured Claims), Class 6 (Borrower Non-

Discharged Claims) (in a Reorganization Transaction), Class 7 (Intercompany Claims), and Class

8 (Intercompany Interests) are Unimpaired and, accordingly, pursuant to section 1126(f) of the

Bankruptcy Code, are conclusively presumed to accept the Plan and are not entitled to vote on

account of such Claims. Further, the Debtors contend and no party in interest has contested that

holders of Claims in Class 4 (Second Lien Notes Claims), Class 5 (General Unsecured Claims),

Class 6 (Borrower Non-Discharged Claims) (in a Sale Transaction), Class 9 (Parent Equity

Interests) and Class 10 (Subordinated Securities Claims) are Impaired and are conclusively

deemed to have rejected the Plan. Accordingly, pursuant to section 1126(g) of the Bankruptcy

Code such holders are not entitled to vote on account of such Claims.



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                    I.        Solicitation Packages and Distribution Procedures.           The proposed

distribution and contents of the Solicitation Packages comply with section 1126 of the Bankruptcy

Code and Bankruptcy Rules 2002 and 3017 and constitute sufficient notice to all interested parties

of the Record Date, Voting Deadline, Plan Objection Deadline, Confirmation Hearing, and other

related matters.

                    J.        Solicitation Period. The period during which the Debtors may solicit votes

to accept or reject the Plan established herein is a reasonable and sufficient period of time for the

Voting Class to make an informed decision regarding whether to accept or reject the Plan and

timely return Ballots evidencing such decision.

                    K.        Notice of Confirmation Hearing, Plan Objection Deadline, and Notice of

Sale. The procedures set forth in the Motion regarding notice to all parties of the time, date, and

place of the hearing to consider confirmation of the Plan (the “Confirmation Hearing”) and for

filing objections or responses to the Plan, provide due, proper, and adequate notice, comport with

due process and comply with Bankruptcy Rules 2002 and 3017. No further notice is required. For

the avoidance of doubt, any notice of sale shall be served to all parties in interest in accordance

with the order approving the Debtors’ bidding procedures (including a condensed and simplified

notice to the Debtors’ consumer borrowers).

                    L.        Notice. All other notices to be provided pursuant to the procedures set forth

in the Motion are good and sufficient notice to all parties in interest of all matters pertinent hereto

and of all matters pertinent to the Confirmation Hearing. No further notice is required.

                    M.        Relief is Warranted. The legal and factual bases set forth in the Motion

establish just and sufficient cause to grant the relief requested therein.




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                    IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                    1.        The Motion is granted as set forth herein.

                    2.        All objections to the relief granted herein that have not been withdrawn with

prejudice, waived, or settled, and all reservations of rights included in such objections, hereby are

overruled and denied on the merits with prejudice.

                                             Disclosure Statement

                    3.        The Disclosure Statement contains adequate information in accordance with

section 1125 of the Bankruptcy Code and is APPROVED.

                    4.        The form and manner of the notice of the hearing on the Disclosure

Statement complied with all applicable Bankruptcy Rules and Local Rules.

                    5.        The Disclosure Statement (including all applicable exhibits thereto)

provides sufficient notice of the injunction, exculpation, and release provisions contained in

Article X of the Plan, in accordance with Bankruptcy Rule 3016(c).

                    6.        The Debtors are authorized to not include the recoveries to creditors under

the Plan or a liquidation analysis in the Disclosure Statement; provided that, the Debtors shall file,

no later than the date that the Plan Supplement (as defined in the Plan) is filed, (a) the expected

recoveries to creditors under the Plan, (b) a liquidation analysis, and (c) if necessary, a valuation

analysis, each of which shall be served on holders of Claims in the Voting Class as promptly as

practicable upon filing.

                                     Solicitation and Voting Procedures

                    The Voting Record Date

                    7.        The Voting Record Date shall be May 8, 2019. Only holders of Claims as

of the Voting Record Date shall be entitled to vote to accept or reject the Plan.



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                    8.        With respect to any transferred Claim, if the transferor of such Claim is

entitled to vote with respect to the Plan, the transferee shall be entitled to receive a Solicitation

Package and vote to accept or reject the Plan on account of the transferred Claim only if: (a) all

actions necessary to effect the transfer of the Claim pursuant to Bankruptcy Rule 3001(e) have

been completed by the Voting Record Date or (b) the transferee files, no later than the Voting

Record Date, (i) the documentation required by Bankruptcy Rule 3001(e) to evidence the transfer

and (ii) a sworn statement of the transferor supporting the validity of the transfer. In the event a

Claim is transferred after the transferor has completed a Ballot, the transferee of such Claim shall

be bound by any vote (and the consequences thereof) made on the Ballot by the holder as of the

Voting Record Date of such transferred Claim.

                    Solicitation Packages

                    9.        The Solicitation Packages are APPROVED.

                    10.       The Debtors shall mail the Solicitation Packages no later than three (3)

calendar days following the date of entry of the Disclosure Statement Order or as soon a

reasonably practicable thereafter (the “Solicitation Date”), to the U.S. Trustee and holders of

Claims in the Voting Class entitled to vote on the Plan as of the Voting Record Date, as required

by Bankruptcy Rule 3017(d).

                    11.       Solicitation Packages shall contain a copy of:

                              (a)    this Order (without attachments);

                              (b)    the Confirmation Hearing Notice;

                              (c)    a Ballot for those creditors entitled to vote on the Plan; and

                              (d)    a link to the Debtors’ website page containing the Plan and
                                     Disclosure Statement.




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                    12.       Any party entitled to receive a copy of the Plan and Disclosure Statement

may request a copy of the Disclosure Statement (and attachments) either in electronic format on a

USB flash drive or paper format by email or by written request. Upon receipt of such request, the

Debtors will promptly provide such parties with a copy of the Plan and the Disclosure Statement

at no cost to them.

                    13.       The Debtors shall not be required to send Solicitation Packages to holders

of Claims that have already been paid in full; provided, however, that if any such Claim holder

would be entitled to receive a Solicitation Package for any other reason, the Debtors shall send

such Claim holder a Solicitation Package in accordance with the procedures set forth in the Motion.

                    14.       With respect to addresses from which the Debtors have received mailings

returned as undeliverable by the United States Postal Service, the Debtors are excused from

mailing Solicitation Packages or any other materials related to voting or confirmation of the Plan

to those entities listed at such addresses unless the Debtors are provided with accurate addresses

for such entities before the Voting Deadline, and failure to mail Solicitation Packages or any other

materials related to voting or confirmation of the Plan to such entities will not constitute inadequate

notice of the Confirmation Hearing or the Voting Deadline and shall not constitute a violation of

Bankruptcy Rule 3017.

                    Ballots

                    15.       The Ballot, substantially in the form attached hereto as Schedule 2 is

APPROVED.

                    16.       The Debtors are authorized to make non-substantive changes to the Ballot

and related documents without further order of the Court, including ministerial changes to correct




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typographical and grammatical errors, and to make conforming changes among the Ballot and any

other materials in the Solicitation Packages prior to mailing.

                    17.       The Voting Deadline shall be June 10, 2019 at 4:00 p.m. (prevailing

Eastern Time) unless extended by the Debtors either (a) for any holder of a Claim in a Voting

Class by written (including by email) notice to such holder or (b) for an entire Voting Class by

notice filed by the Debtors in these chapter 11 cases.

                    18.       All Ballots must be properly executed, completed, and delivered to Epiq by

first-class mail, overnight courier, or hand delivery so that they are actually received by Epiq no

later than the Voting Deadline. In addition to accepting hard copy Ballots via first class mail,

overnight courier, and hand delivery, the Debtors are authorized to accept Ballots via electronic,

online transmissions, solely through a customized online balloting portal on the Debtors’ case

website to be maintained by Epiq (the “E- Ballot Portal”). Parties entitled to vote may cast an

electronic Ballot and electronically sign and submit the Ballot instantly by utilizing the E-Ballot

Portal (which allows a holder to submit an electronic signature). The encrypted ballot data and

audit trail created by such electronic submission shall become part of the record of any Ballot

submitted in this manner and the creditor’s electronic signature will be deemed to be immediately

legally valid and effective.           For the avoidance of doubt, holders may only cast Ballots

electronically via the E-Ballot Portal. Ballots submitted by email, facsimile, or any other means

of electronic submission not specifically authorized by the solicitation procedures shall not be

counted.

                    Tabulation Procedures

                    19.       The following tabulation procedures are APPROVED.




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                    20.       If applicable, solely for purposes of voting to accept or reject the Plan and

not for the purpose of the allowance of, or distribution on account of, a Claim, and without

prejudice to the rights of the Debtors in any other context, each Claim within a Class entitled to

vote to accept or reject the Plan is to be temporarily allowed in an amount equal to the amount of

such Claim as set forth in a timely filed proof of Claim, or, if no proof of Claim was filed, the

liquidated, noncontingent, undisputed amount of such Claim as set forth in the applicable Debtors’

schedule of assets and liabilities (collectively, as may be amended from time to time,

the “Schedules”), provided, that:

                          a) If a Claim is deemed Allowed pursuant to the Plan, such Claim shall be
                             Allowed for voting purposes in the deemed Allowed amount set forth in the
                             Plan;

                          b) If a Claim, for which a proof of Claim has been timely filed, is wholly
                             contingent, unliquidated, or disputed (based on the face of the Claim or a
                             reasonable review of the Claim and its supporting documentation), such
                             Claim shall be allowed for voting purposes only, and not for purposes of
                             allowance or distribution, at $1.00, unless such Claim is disputed in the
                             manner set forth in subparagraph (f) below;

                          c) If a Claim, for which a proof of Claim was timely filed, lists an amount that
                             is partially unliquidated or contingent, such Claim shall be temporarily
                             allowed only in the liquidated, noncontingent amount set forth on the proof
                             of Claim, unless such Claim is disputed in the manner set forth in
                             subparagraph (f) below;

                          d) If a Claim has been estimated for voting purposes or otherwise allowed for
                             voting purposes by order of the Court, such Claim shall be allowed in the
                             amount so estimated or allowed by the Court for voting purposes only, and
                             not for purposes of allowance or distribution, unless otherwise provided by
                             order of the Court;

                          e) If a Claim is listed in the Schedules as contingent, unliquidated, disputed,
                             in the amount of $0.00, or unknown, and a proof of Claim was not (i) filed
                             by the applicable bar date for the filing of proofs of Claim established by
                             the Bar Date Order or (ii) deemed timely filed by an order of the Court prior
                             to the Voting Deadline, unless the Debtors have consented in writing, such
                             Claim shall be disallowed for voting purposes, provided, however, if the
                             applicable bar date has not yet passed, such Claim shall be entitled to vote
                             in the amount of $1.00;

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                         f) If the Debtors serve an objection to, or request for estimation of, a Claim at
                            least ten (10) days before the Voting Deadline, such Claim shall be
                            temporarily disallowed for voting purposes only and not for purposes of
                            allowance or distribution, except to the extent and in the manner as may be
                            set forth in the objection or request for estimation, or as ordered by the Court
                            before the Voting Deadline;

                         g) Holders of Claims who, after the Voting Record Date, but prior to the bar
                            date for the filing of proofs of Claim established by the Bar Date Order,
                            have filed a proof of claim (i) regarding a Claim that is not listed in the
                            Schedules and (ii) that has not been expunged, disallowed, disqualified,
                            withdrawn, or superseded prior to the bar date established by the Bar Date
                            Order, shall be entitled to vote in an amount equal to the amount of such
                            Claim as set forth in the timely filed proof of Claim;

                         h) For purposes of the numerosity requirement of section 1126(c) of the
                            Bankruptcy Code, separate Claims held by a single creditor in a particular
                            Class shall be aggregated as if such creditor held one Claim against the
                            Debtor(s) in such Class, and the votes related to such Claims shall be treated
                            as a single vote to accept or reject the Plan;

                         i) Notwithstanding anything contained herein to the contrary, the Debtors in
                            their discretion, may waive any defects in a Ballot, or enter into a stipulation
                            to settle or resolve any dispute in relation thereto, with a holder of a Claim
                            that has completed a Ballot;

                         j) Notwithstanding anything contained herein to the contrary, Epiq, in its
                            discretion, may contact entities entitled to vote to cure any defects in the
                            Ballot;

                         k) There shall be a rebuttable presumption that in the case where more than
                            one timely, properly completed Ballot voting the same Claim is received,
                            only the last properly completed Ballot will be counted unless the holder of
                            the Claim receives Court approval otherwise;

                         l) Notwithstanding anything to the contrary contained herein, any Claim
                            holder who has filed or purchased duplicate Claims within the same Class
                            shall be provided with only one Solicitation Package and one Ballot for
                            voting a single Claim in such Class, regardless of whether the Debtors have
                            objected to such duplicate Claims;

                         m) If a proof of claim has been amended by a later proof of claim that is filed
                            on or prior to the Voting Record Date, the later filed amending Claim shall
                            be entitled to vote in a manner consistent with these tabulation rules, and
                            the earlier filed Claim shall be disallowed for voting purposes, regardless of
                            whether the Debtors have objected to such amended Claim. Except as
                            otherwise ordered by the Court, any amendments to proofs of claim after


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                              the Voting Record Date shall not be considered for purposes of these
                              tabulation rules;

                          n) If a Claim is filed in the amount of $0.00, the holder of such Claim shall not
                             be entitled to vote on account of such Claim; and

                          o) Holders of paid or otherwise satisfied claims are not entitled to vote.

Additionally, with respect to Term Loan Claims, solely for purposes of voting to accept or reject

the Plan, and not for purposes of allowance or distribution, the Debtors shall be entitled to rely on

the amounts of such Claims as set out in the register of the Prepetition Administrative Agent as of

the Voting Record Date, and the Prepetition Administrative Agent will provide the Debtors or Epiq

with the applicable records in electronic Microsoft Excel format no later than three (3) business

days following the Voting Record Date. Further, the Debtors shall be subject to the requirements

set forth in subsections 20(h)-(k) listed above with respect to Term Loan Claims.

                    21.       Any Ballot that is properly completed, executed, and timely returned to Epiq

but does not indicate an acceptance or rejection of the Plan, or indicates both an acceptance and a

rejection of the Plan, shall not be counted.

                    22.       Creditors must vote all of their Claim(s) within the Voting Class, either to

accept or reject the Plan, and may not split their vote(s).

                    23.       A Ballot that partially rejects and partially accepts the Plan shall not be

counted.

                    24.       The following Ballots shall not be counted or considered for any purpose in

determining whether the Plan has been accepted or rejected: (a) any Ballot received after the

Voting Deadline unless the Debtors have granted in writing an extension of the Voting Deadline

with respect to such Ballot; (b) any Ballot that is illegible or contains insufficient information to

permit the identification of the Claim holder; (c) any Ballot cast by a person or entity that does not

hold a Claim in a Class that is entitled to vote to accept or reject the Plan; (d) any Ballot that is

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unsigned or without an original signature; provided, however, for the avoidance of doubt, a Ballot

submitted via Epiq’s E-Ballot Portal shall be deemed to contain an original signature; and (e) any

Ballot transmitted to Epiq by facsimile, electronic transmission, or other electronic means (other

than via Epiq’s E-Ballot Portal).

                    25.       June 10, 2019 at 4:00 p.m. (prevailing Eastern Time) (the “Rule 3018(a)

Motion Deadline”) shall be the deadline for the filing and serving of any motion requesting

temporary allowance of a Claim for purposes of voting pursuant to Bankruptcy Rule 3018(a)

(the “Rule 3018(a) Motion(s)”). Rule 3018(a) Motions must be filed with the Court and served

upon the following parties and such other parties as the Court may order (collectively,

the “Objection Notice Parties”), so as to be actually received not later than the Rule 3018(a)

Motion Deadline:

   Debtors                                         Office of the U.S. Trustee
   Ditech Holding Corporation, et al.              William K. Harrington, U.S. Department of
   3000 Bayport Drive                              Justice
   Suite 985                                       Office of the U.S. Trustee
   Tampa, Florida 33607                            201 Varick Street, Room 1006
   Attn: John Haas                                 New York, New York 10014
                                                   Attn: Greg M. Zipes
                                                         Benjamin J. Higgins

   Counsel to the Debtors                          Counsel to the Prepetition Administrative Agent
   Weil, Gotshal & Manges LLP                      Davis Polk & Wardwell LLP
   767 Fifth Avenue                                450 Lexington Avenue
   New York, New York 10153                        New York, New York 10017
   Attn: Ray C. Schrock, P.C.                      Attn: Brian M. Resnick
         Sunny Singh                                     Michelle M. McGreal

   Counsel to the Term Loan Ad Hoc                 Counsel to the DIP Agent and DIP Lender
   Group                                           Skadden, Arps, Slate, Meagher & Flom LLP
   Kirkland & Ellis LLP                            4 Times Square
   300 North LaSalle                               New York, New York 10036
   Chicago, Illinois 60654                         Attn: Sarah M. Ward
   Attn: Patrick J. Nash                                 Mark A. McDermott
         John Luze                                       Melissa Tiarks



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   Counsel to Nomura Corporate                        Counsel to the Creditors’ Committee
   Funding Americas, LLC                              Pachulski Stang Ziehl & Jones LLP
   Jones Day                                          780 Third Avenue, 34th Floor
   250 Vesey Street                                   New York, New York 10017
   New York, New York 10281                           Attn: Robert J. Feinstein
   Attn: Ben Rosenblum                                      Bradford J. Sandler
                                                            Steven W. Golden

                                                      and

                                                      Rich Michaelson Magaliff, LLP
                                                      335 Madison Avenue, 9th Floor
                                                      New York, New York 10017
                                                      Attn: Robert N. Michaelson
                                                            Elwood F. Collins


                    26.       Nothing in this Order shall affect or limit any party’s rights to object to any

proof of claim or Rule 3018(a) Motion.

                                                 Confirmation

                    Confirmation Hearing

                    27.       The Confirmation Hearing shall be held on June 20, 2019 at 11:00 a.m.

(prevailing Eastern Time); provided, however, that the Confirmation Hearing may be adjourned

or continued from time to time by the Court or the Debtors without further notice, including

adjournments announced in open Court or as indicated in any notice of agenda of matters

scheduled for hearing filed by the Debtors with the Court.

                    Plan Supplement

                    28.       The Debtors are authorized to file and serve a supplement to the Plan on or

before June 3, 2019, and to further supplement such plan supplement as necessary thereafter. In

the event there is no auction, the Plan Supplement shall be filed on or before May 31, 2019.

                    29.       The deadline to object or respond to confirmation of the Plan shall be

June 10, 2019 at 4:00 p.m. (prevailing Eastern Time) (the “Plan Objection Deadline”).


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                    30.       As soon as reasonably practicable after filing the Plan Supplement, the

Debtors shall file and serve a notice of filing of the Plan Supplement on all holders of Claims and

Interests, including consumer borrowers of the Debtors.

                    Notice of Confirmation Hearing

                    31.       The Confirmation Hearing Notice substantially in the form attached hereto

as Schedule 1 and the notice to the Debtors’ consumer borrowers of the Confirmation Hearing

(the “Consumer Borrower Notice”) substantially in the form attached hereto as Schedule 3 are

APPROVED.

                    32.       The Confirmation Hearing Notice and the Consumer Borrower Notice

provide due, proper, and adequate notice, comport with due process and comply with Bankruptcy

Rules 2002 and 3017 and Local Rule 6004-1.

                    33.       All parties in interest shall receive or be deemed to have received good and

sufficient notice of (a) the Motion; (b) a Sale Transaction or an Asset Sale Transaction, as

applicable, including the sale of the Debtors’ assets free and clear of all liens, claims,

encumbrances, and other interests; and (c) the Confirmation Hearing, and no further notice of the

foregoing shall be required, if, as soon as reasonably practicable, but no later than the Solicitation

Date, the Debtors shall cause the Confirmation Hearing Notice to be filed with the Court and

served by email, mail, facsimile, or overnight delivery on: (i) the Office of the United States

Trustee for the Southern District of New York; (ii) counsel to the Prepetition Administrative

Agent; (iii) counsel to the Term Loan Ad Hoc Group; (iv) counsel to Wilmington Savings Fund

Society, FSB, as trustee under that certain Indenture for 9.0% Second Lien Senior Subordinated

PIK Toggle Notes due 2024; (v) counsel to the Second Lien Noteholder Ad Hoc Group;

(vi) counsel to the DIP Agent; (vii) counsel to the DIP Lenders; (viii) the Creditors’ Committee;

(ix) counsel to the Federal National Mortgage Association, the Federal Home Loan Mortgage

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Corporation, and the Government National Mortgage Association; (x) any party who, in the past

twelve (12) months, expressed in writing to the Debtors an interest in the Debtors’ assets; (xi) the

Contract Counterparties; (xii) all parties who are known to have asserted or believed by the

Debtors to hold any lien, claim, encumbrance, or interest in the Debtors’ assets; (xiii) the Securities

and Exchange Commission; (xiv) the Internal Revenue Service; (xv) all applicable state attorneys’

general and local authorities; (xvi) all applicable state and local taxing authorities; (xvii) the

Federal Trade Commission; (xviii) the United States Department of Justice; (xix) the United States

Attorney’s Office, (xx) the office of the New York Attorney General; (xxi) all of the Debtors’

known creditors (for whom identifying information and addresses are available to the Debtors);

(xxii) all entities that requested notice in these chapter 11 cases under Bankruptcy Rule 2002; and

(xxiii) any other parties, including equity security holders, entitled to notice under Bankruptcy

Rules 2002 and 3017.

                    34.       The Debtors shall publish the Publication Notice in the national editions of

The New York Times and USA Today and shall be authorized (but not required) to publish the

Publication Notice in such other publications of general circulation as the Debtors shall determine,

no later than the Solicitation Date.

                    35.       With respect to Class 7 (Intercompany Claims) and Class 8 (Intercompany

Interests), the Debtors are not required to serve any type of notice in connection with the

solicitation of the Plan, including the Confirmation Hearing Notice.

                    Objections to Confirmation

                    36.       Objections and responses, if any, to confirmation of the Plan, must: (a) be

in writing; (b) state the name and address of the objecting party and the amount and nature of the

Claim or Interest of such party; (c) state with particularity the basis and nature of any objection,

and provide proposed language that, if accepted and incorporated by the Debtors, would obviate

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such objection; (d) conform to the Bankruptcy Rules and the Local Rules; (e) be filed with the

Court (i) by registered users of the Court’s case filing system, electronically in accordance with

General Order M-399 (which can be found at http://www.nysb.uscourts.gov) and (ii) by all other

parties in interest, on a CD-ROM, in text-searchable portable document format (PDF) (with a hard

copy delivered directly to Chambers), in accordance with the customary practices of the Court and

General Order M-399, as applicable; and (f) be served in accordance with General Order M-399.

In addition to being filed with the Court, any such responses or objections must be served on the

Objection Notice Parties, in addition to any such other parties as the Court may order, so as to be

received by no later than the Plan Objection Deadline. Pursuant to Bankruptcy Rule 3020(b),

if no objection is timely filed, this Court may determine that the plan has been proposed in good

faith and not by any means forbidden by law without receiving evidence on such issues.

                    37.       Objections to confirmation of the Plan that are not timely filed, served, and

actually received in the manner set forth above shall not be considered unless otherwise agreed by

the Debtors or determined by the Court.

                    38.       The Debtors are authorized to file and serve replies or an omnibus reply to

any such objections along with their brief in support of confirmation of the Plan either separately

or by a single, consolidated reply, as well as any affidavits or declarations in support of

confirmation of the Plan on or before June 14, 2019 at 4:00 p.m. (prevailing Eastern Time)

(the “Reply Deadline”). In addition, any party in interest may file and serve a statement in support

of confirmation of the Plan and/or a reply to any objections to confirmation of the Plan by the

Reply Deadline.

                                              General Provisions

                    39.       The Debtors are authorized to make non-substantive changes to the

Disclosure Statement, the Plan, the Ballot, the Confirmation Hearing Notice, the Consumer

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Borrower Notice, and any related documents without further order of the Court, including, without

limitation, changes to correct typographical and grammatical errors and to make conforming non-

substantive changes to reflect any such changes made to the Disclosure Statement and the Plan

prior to mailing.

                    40.       Notwithstanding the possible applicability of Bankruptcy Rules 6004(h),

6006(d), 7062, and 9014, or any applicable provisions of the Local Rules or otherwise, the terms

and conditions of this Order shall be immediately effective and enforceable upon its entry, and no

automatic stay of execution shall apply to this Order.

                    41.       The Debtors are authorized to take all steps necessary or appropriate to carry

out this Order.

                    42.       This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.



Dated:      May 10, 2019
            New York, New York

                                                     /s/   James L. Garrity, Jr.
                                                     HONORABLE JAMES L. GARRITY, JR.
                                                     UNITED STATES BANKRUPTCY JUDGE




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                                         SCHEDULE 1

                               Form of Confirmation Hearing Notice




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :       Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                  Case No. 19-10412 (JLG)
                                                               :
                                      1
                           Debtors.                            :       (Jointly Administered)
                                                               :
---------------------------------------------------------------X

                   NOTICE OF (I) APPROVAL OF DISCLOSURE
          STATEMENT, (II) ESTABLISHMENT OF VOTING RECORD DATE,
        (III) CONFIRMATION HEARING, (IV) CONFIRMATION OBJECTION
    PROCEDURES, (V) PROCEDURES AND DEADLINE FOR VOTING ON THE PLAN

TO ALL PARTIES IN INTEREST:

                    PLEASE TAKE NOTICE THAT:

               1.     Approval of Disclosure Statement. On May 10, 2019, the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) held a
hearing (the “Disclosure Statement Hearing”) at which it approved the Amended Disclosure
Statement for Amended Joint Chapter 11 Plan of Ditech Holding Corporation and its Affiliated
Debtors, filed May 9, 2019 [ECF No. __] (as may be amended, modified, or supplemented,
“Disclosure Statement”)2 in Ditech Holding Corporation and its debtor affiliates’ chapter 11 cases
(collectively, the “Debtors”), and thereafter entered an order (the “Disclosure Statement
Order”) with respect thereto. The Disclosure Statement Order, among other things, authorizes
the Debtors to solicit votes to accept or reject the Amended Joint Chapter 11 Plan of Ditech
Holding Corporation and its Affiliated Debtors, filed on May 9, 2019 [ECF No. __] (as may be
amended, modified, or supplemented, the “Plan”).
                2.     Approval of Bidding Procedures. On April 11, 2019, the Bankruptcy Court
held a hearing (the “Bidding Procedures Hearing”) at which it approved the Order (I) Approving
Bidding Procedures, (II) Approving Assumption and Assignment Procedures, and (III) Granting
Related Relief [ECF No. 456] (the “Bidding Procedures Order”) authorizing the Debtors to
1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
      Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
      Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
      Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
      Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
      (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
      Drive, Suite 100, Fort Washington, Pennsylvania 19034.
2
      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such term in the
      Disclosure Statement or the Plan (as defined below), as applicable, or as the context otherwise requires.



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solicit offers for the purchase of their assets consistent with the bidding procedures (the “Bidding
Procedures”). Copies of the Disclosure Statement Order, the Bidding Procedures Order, and the
Bidding Procedures may be obtained free of charge at the website dedicated to the Debtors’ chapter
11 cases maintained by the Debtors’ claims and noticing agent, Epiq Corporate Restructuring, LLC
(http://dm.epiq11.com/Ditech).
               3.      Auction. The Auction, if necessary, has been scheduled for May 30, 2019
at 10:00 a.m. (ET). If no Qualified Bid is received by the Qualified Bid Deadline, the Debtors
will not conduct the Auction. The Debtors shall have the right, in their reasonable business
judgment, in a manner consistent with the Debtors’ fiduciary duties and applicable law, to adjourn
or cancel the Auction. If the Auction is adjourned or cancelled, the Debtors shall file a notice with
the Bankruptcy Court and publish such notice on the website of the Debtors’ claims and noticing
agent, Epiq Corporate Restructuring, LLC, (http://dm.epiq11.com/Ditech) in accordance with the
Bidding Procedures. As soon as reasonably practicable following the conclusion of the Auction,
the Debtors shall file with the Bankruptcy Court notice of the Successful Bid, Successful Bidder,
Back-Up Bid, and Back-Up Bidder.
               4.      Confirmation Hearing. A hearing to consider confirmation of the Plan
(the “Confirmation Hearing”) has been scheduled before the Honorable James L. Garrity, Jr.,
United States Bankruptcy Judge, in Room 601 of the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”), One Bowling Green, New York, New
York 10004, on June 20, 2019 at 11:00 a.m. (prevailing Eastern Time). To the extent the
Debtors pursue a Sale Transaction or an Asset Sale Transaction, the approval of any such
transaction will be heard at the Confirmation Hearing. In such a case, the Debtors will provide
subsequent notice of their decision to pursue a Sale Transaction or an Asset Sale Transaction. The
Confirmation Hearing may be adjourned or continued from time to time by the Bankruptcy Court
or the Debtors without further notice other than adjournments announced in open court or as
indicated in any notice of agenda of matters scheduled for hearing filed by the Debtors with the
Bankruptcy Court. The Plan may be modified, if necessary, prior to, during, or as a result of the
Confirmation Hearing.
              5.      Voting Record Date. Holders of Term Loan Claims (Class 3) against the
Debtors as of May 8, 2019 (the “Voting Record Date”) are entitled to vote on the Plan.
               6.      Voting Deadline. All votes to accept or reject the Plan must be actually
received by the Debtors’ voting and tabulation agent, Epiq Corporate Restructuring, LLC
(“Epiq”), by no later than June 10, 2019 at 4:00 p.m. (prevailing Eastern Time) (the “Voting
Deadline”). Any failure to follow the voting instructions included with your Ballot may disqualify
your Ballot and your vote.
                 7.     Parties in Interest Not Entitled to Vote. The following table designates the
Classes of Claims against and Interests in the Debtors and specifies which of those Classes are
(a) Impaired or Unimpaired by the Plan; (b) entitled to vote to accept or reject the Plan in
accordance with section 1126 of the Bankruptcy Code; and (c) deemed to accept or reject the Plan.
Only holders of Term Loan Claims (Class 3) are entitled to vote on the Plan and will receive a
Ballot. Holders of Unimpaired Claims and/or Interests in classes deemed to accept the Plan are
not entitled to vote and will not receive a Ballot. In addition, holders of Impaired Claims in classes
deemed to reject the Plan are not entitled to vote and will not receive a Ballot.


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Class               Designation                Treatment                  Entitled to Vote
  1       Priority Non-Tax Claims              Unimpaired              No (Presumed to accept)
  2       Other Secured Claims                 Unimpaired              No (Presumed to accept)
  3       Term Loan Claims                      Impaired                         Yes
  4       Second Lien Notes Claims              Impaired                No (Deemed to reject)
  5       General Unsecured Claims              Impaired                No (Deemed to reject)
                                             Reorganization           Reorganization Transaction
                                               Transaction              (Presumed to Accept)
          Borrower Non-Discharged             (Unimpaired)
  6
          Claims                                                 Sale Transaction (Deemed to Reject)
                                            Sale Transaction
                                               (Impaired)
 7        Intercompany Claims                 Unimpaired               No (Presumed to accept)
 8        Intercompany Interests              Unimpaired               No (Presumed to accept)
 9        Parent Equity Interests               Impaired                No (Deemed to reject)
 10       Subordinated Securities Claims        Impaired                No (Deemed to reject)

UNDER THE TERMS OF THE PLAN, IF YOU ARE THE HOLDER OF A CLAIM
OTHER THAN A TERM LOAN CLAIM (CLASS 3), YOUR CLAIM IS EITHER
UNIMPAIRED OR IMPAIRED, AND THEREFORE, PURSUANT TO SECTION 1126(F)
OR 1126(G) OF TITLE 11 OF THE UNITED STATES BANKRUPTCY CODE,
RESPECTIVELY, YOU ARE (A) DEEMED TO HAVE ACCEPTED OR REJECTED THE
PLAN, RESPECTIVELY AND (B) NOT ENTITLED TO VOTE ON THE PLAN.
If you disagree with the amount or classification of your Claim and believe that you should be
entitled to vote on the Plan or vote in a different amount, then you must serve on the parties
identified in paragraph 8 below and file with the Bankruptcy Court a motion (a “Rule 3018(a)
Motion”) for an order pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”) temporarily allowing your Claim in a different amount or in a different
class for purposes of voting to accept or reject the Plan. All Rule 3018(a) Motions must be filed
on or before June 10, 2019 at 4:00 p.m. (prevailing Eastern Time). Rule 3018(a) Motions that
are not timely filed and served in the manner set forth above shall not be considered. As to any
Claim holder filing a Rule 3018(a) Motion, such Claim holder’s Ballot will be counted as provided
in the Disclosure Statement Order except as may be otherwise ordered by the Bankruptcy Court.
Claim holders may contact Epiq in writing at Ditech Ballot Processing, c/o Epiq Corporate
Restructuring, LLC, 10300 SW Allen Boulevard, Beaverton, Oregon 97005, by email to
tabulation@epiqglobal.com with a reference to “Ditech Holding Corporation” in the subject line,
or by telephone at 866-486-4809 (Domestic) or 503-597-7698 (International) to receive an
appropriate Ballot for any Claim for which a Proof of Claim has been timely filed and a Rule
3018(a) Motion has been granted.
              8.       Objections to Sale and Confirmation. Responses and objections, if any, to
confirmation of the Plan or to a proposed Sale Transaction or Asset Sale Transaction, as applicable,
including any objection to the sale of the Debtors’ assets free and clear of liens, claims, interests,
and encumbrances pursuant to section 363(f) of the Bankruptcy Code, must:



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                    (a)         be in writing;
                    (b)         state the name and address of the objecting party and the amount and nature
                                of the Claim or Interest of such party;
                    (c)         state with particularity the basis and nature of any objection, and, if
                                applicable, provide proposed language that, if accepted and incorporated by
                                the Debtors, would obviate such objection;
                    (d)         conform to the Bankruptcy Rules and the Local Rules;
                    (e)         be filed with the Court together with proof of service either (i) electronically
                                or (ii) conventionally, as noted below:
                               (i)    Electronic Filing: the filer must be an attorney in possession of
                                      passwords and logins to both PACER and the Bankruptcy Court’s
                                      Electronic Case Filing System; electronic filing must be in accordance
                                      with General Order M-399 (which can be found at
                                      http://nysb.uscourts.gov); or
                              (ii)    Conventional Filing: the filer must send the response or objection by
                                      mail, courier, or messenger to the Bankruptcy Court’s clerk at the
                                      following address: United States Bankruptcy Court, One Bowling
                                      Green, New York, NY 10004; the hard copy of the response or
                                      objection should be accompanied by a CD-ROM containing the
                                      response or objection in text-searchable portable document format
                                      (PDF); and
                              (iii)   All filers – those filing electronically as well as those filing
                                      conventionally – must provide Bankruptcy Court Chambers with two
                                      separate, single-sided hard copies of the response or objection; any
                                      proposed order should be accompanied by a CD-ROM containing the
                                      response or objection in text searchable portable document format
                                      (PDF); and
                    (f)         be served upon the following parties in accordance with General Order M-
                                399 so as to be received no later than June 10, 2019 at 4:00 p.m.
                                (prevailing Eastern Time) (the “Sale and Confirmation Objection
                                Deadline”):
   Debtors                                                 Office of the U.S. Trustee
   Ditech Holding Corporation, et al.                      William K. Harrington, U.S. Department of
   3000 Bayport Drive                                      Justice
   Suite 985                                               Office of the U.S. Trustee
   Tampa, Florida 33607                                    201 Varick Street, Room 1006
   Attn: John Haas                                         New York, New York 10014
                                                           Attn: Greg M. Zipes
                                                                 Benjamin J. Higgins



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   Counsel to the Debtors                      Counsel to the Prepetition Administrative
   Weil, Gotshal & Manges LLP                  Agent
   767 Fifth Avenue                            Davis Polk & Wardwell LLP
   New York, New York 10153                    450 Lexington Avenue
   Attn: Ray C. Schrock, P.C.                  New York, New York 10017
         Sunny Singh                           Attn: Brian M. Resnick
                                                     Michelle M. McGreal

   Counsel to the Term Loan Ad Hoc             Counsel to the DIP Agent and DIP Lender
   Group                                       Skadden, Arps, Slate, Meagher & Flom LLP
   Kirkland & Ellis LLP                        4 Times Square
   300 North LaSalle                           New York, New York 10036
   Chicago, Illinois 60654                     Attn: Sarah M. Ward
   Attn: Patrick J. Nash                             Mark A. McDermott
         John Luze                                   Melissa Tiarks

   Counsel to Nomura Corporate Funding         Counsel to the Creditors’ Committee
   Americas, LLC                               Pachulski Stang Ziehl & Jones LLP
   Jones Day                                   780 Third Avenue, 34th Floor
   250 Vesey Street                            New York, New York 10017
   New York, New York 10281                    Attn: Robert J. Feinstein
   Attn: Ben Rosenblum                               Bradford J. Sandler
                                                     Steven W. Golden

                                               and

                                               Rich Michaelson Magaliff, LLP
                                               335 Madison Avenue, 9th Floor
                                               New York, New York 10017
                                               Attn: Robert N. Michaelson
                                                     Elwood F. Collins

THE FAILURE OF ANY PERSON OR ENTITY TO FILE AND SERVE AN OBJECTION
TO CONFIRMATION OF THE PLAN OR TO A SALE TRANSACTION OR AN ASSET
SALE TRANSACTION, AS APPLICABLE, BY THE SALE AND CONFIRMATION
OBJECTION DEADLINE SHALL BE BARRED FROM ASSERTING, AT THE
CONFIRMATION HEARING OR THEREAFTER, ANY OBJECTION TO
CONFIRMATION OF THE PLAN OR TO THE CONSUMMATION AND
PERFORMANCE OF A SALE TRANSACTION OR AN ASSET SALE TRANSACTION,
AS APPLICABLE, CONTEMPLATED BY AN ASSET PURCHASE AGREEMENT
BETWEEN THE DEBTORS AND A SUCCESSFUL BIDDER (INCLUDING, WITHOUT
LIMITATION, THE DEBTORS’ TRANSFER OF THEIR ASSETS AND ASSUMPTION
AND ASSIGNMENT OF THE ASSIGNED CONTRACTS, FREE AND CLEAR OF LIENS,
CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS PURSUANT TO SECTION
363(F) OF THE BANKRUPTCY CODE), AND MAY NOT BE HEARD AT THE
CONFIRMATION HEARING.


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                9.      Additional Information. Any party in interest wishing to obtain
information about the solicitation procedures or copies of the Disclosure Statement or the Plan
should contact the Debtors’ voting and tabulation agent, Epiq, by telephone at 866-486-4809
(Domestic) or 503-597-7698 (International), or in writing: Ditech Ballot Ballot Processing, c/o Epiq
Corporate Restructuring, LLC, 10300 SW Allen Boulevard, Beaverton, Oregon 97005 or by email
at tabulation@epiqglobal.com with a reference to “Ditech Holding Corporation” in the subject
line. Interested parties may also review the Disclosure Statement and the Plan free of charge on
the internet (http://dm.epiq11.com/Ditech). In addition, the Disclosure Statement and Plan are on
file with the Bankruptcy Court and may be reviewed for a fee by accessing the Bankruptcy Court’s
website: www.nysb.uscourts.gov. Note that a PACER password and login are needed to access
documents on the Bankruptcy Court’s website. A PACER password can be obtained at:
www.pacer.psc.uscourts.gov. Copies of the Disclosure Statement and Plan may also be examined
by interested parties during normal business hours at the office of the Clerk of the Bankruptcy
Court. EPIQ IS NOT AUTHORIZED TO, AND WILL NOT PROVIDE, LEGAL ADVICE.
              10.     Discharge, Injunctions, Releases, and Exculpation. Please be advised
that Article X of the Plan provides for discharge, injunctions, releases, and exculpation of
certain conduct. Copies of the Plan may be obtained in accordance with the procedures
described above in paragraph 9. Information on discharge, injunctions, releases, and
exculpation may be found in sections 10.3 through 10.7 of the Plan.
               11.            The Plan also contains other related provisions that may affect your rights
against the Debtors.
YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE DISCHARGE, INJUNCTION, RELEASE, AND EXCULPATION
PROVISIONS, AS YOUR RIGHTS MAY BE AFFECTED.


Dated: _____________, 2019
       New York, New York

                                                ______________________________
                                                WEIL, GOTSHAL & MANGES LLP
                                                767 Fifth Avenue
                                                New York, New York 10153
                                                Telephone: (212) 310-8000
                                                Facsimile: (212) 310-8007
                                                Ray C. Schrock, P.C.
                                                Sunny Singh

                                                Attorneys for Debtors
                                                and Debtors in Possession




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                                         SCHEDULE 2

                                         Form of Ballot




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------X
                                                               :
In re                                                          :       Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                  Case No. 19-10412 (JLG)
                                                               :
                           Debtors.1                           :       (Jointly Administered)
                                                               :
---------------------------------------------------------------X

                       BALLOT FOR ACCEPTING OR REJECTING
                    AMENDED JOINT CHAPTER 11 PLAN OF DITECH
                 HOLDING CORPORATION AND ITS AFFILIATED DEBTORS

BALLOT FOR: CLASS 3 – Term Loan Claims

                     THE VOTING DEADLINE TO ACCEPT OR REJECT
                     THE PLAN IS 4:00 P.M., PREVAILING EASTERN
                     TIME, ON JUNE 10, 2019 (THE “VOTING DEADLINE”),
                     UNLESS EXTENDED BY THE DEBTORS.

This ballot (the “Ballot”) is provided to you to solicit your vote to accept or reject the Amended
Joint Chapter 11 Plan of Ditech Holding Corporation and its Affiliated Debtors under Chapter 11
of the Bankruptcy Code, dated May 9, 2019 (as it may be amended or modified, the “Plan”). The
Plan is attached as Exhibit A to the Amended Disclosure Statement for the Amended Joint Chapter
11 Plan of Ditech Holding Corporation and its Affiliated Debtors, dated May 9, 2019 (as it may
be amended or modified, the “Disclosure Statement”).

Copies of the Disclosure Statement and the Plan will be on file with the Office of the Clerk of the
Bankruptcy Court for review during normal business hours (a fee may be charged) and are also
available free-of-charge on the Debtors’ claims agent’s website (http://dm.epiq11.com/Ditech).

All capitalized terms used but not defined herein or in the enclosed voting instructions have the
meanings ascribed to such terms in the Plan. The Disclosure Statement provides information to
assist you in deciding how to vote on the Plan. You should review the Disclosure Statement and


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
      Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
      Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
      Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
      Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
      (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
      Drive, Suite 100, Fort Washington, Pennsylvania 19034.



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the Plan in their entirety before you vote. You may wish to seek independent legal advice
concerning the Plan and your classification and treatment under the Plan.

The Debtors commenced voluntary cases under chapter 11 of the Bankruptcy Code. The Plan can
thereafter be confirmed by the Bankruptcy Court and thereby made binding on you if it is accepted
by the holders of at least two-thirds in amount and more than one-half in number of the Claims
voted in each Impaired Class, and if the Plan otherwise satisfies the applicable requirements of
section 1129(a) under the Bankruptcy Code. If the requisite acceptances are not obtained, the
Bankruptcy Court may nonetheless confirm the Plan if it finds that the Plan (a) provides fair and
equitable treatment to, and does not unfairly discriminate against, the Class or Classes rejecting
the Plan, and (b) otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code.
If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you
vote or if you vote to reject the Plan.

Please use this Ballot to cast your vote to accept or reject the Plan if you are, as of May 8, 2019
(the “Voting Record Date”), a holder of a Claim against the Debtors arising under that certain
Second Amended and Restated Credit Agreement, dated as of February 9, 2018 (and as amended
by that certain Amendment No. 1 to Second Amended and Restated Credit Agreement, dated as
of March 29, 2018), among Ditech, as the borrower, each of the other loan parties named therein,
the Prepetition Administrative Agent and the other lenders party thereto, as amended, modified, or
supplemented from time to time prior to the Commencement Date (the “Prepetition Credit
Agreement” and such claims against the Debtors arising under the Prepetition Credit Agreement,
collectively, the “Term Loan Claims”).

If you have any questions on how to properly complete this Ballot, please call Epiq Corporate
Restructuring, LLC (the “Voting Agent”) at 866 897-6433 (domestic toll-free) or 646 282-2500
(international) and request to speak with a member of the Solicitation Team, or email
tabulation@epiqglobal.com with a reference to “Ditech” in the subject line. THE VOTING
AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.

      This Ballot is to be used for voting by holders of Class 3 Claims (Term Loan Claims).
In order for your vote to be counted, this Ballot must be properly completed, signed, and
returned to the Voting Agent so that it is actually received no later than 4:00 p.m. (Prevailing
Eastern Time) on June 10, 2019 (the “Voting Deadline”), unless such time is extended by the
Debtors.

      This Ballot is solely for purposes of voting to accept or reject the Plan and not for the
purpose of allowance or disallowance of, or distribution on account of, Class 3 Claims (Term
Loan Claims).

INSTRUCTIONS FOR COMPLETING THE BALLOT

             This Ballot is submitted to you to solicit your vote to accept or reject the Plan. The
terms of the Plan are described in the Disclosure Statement, including all exhibits thereto.
PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY
BEFORE COMPLETING THIS BALLOT.



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                To have your vote counted, you must complete, sign, and return this Ballot so
that it its received by the Voting Agent no later than the Voting Deadline, unless such time
is extended by the Debtors. Ballots must be delivered to the Voting Agent (i) at an
appropriate address listed below or (ii) via the Voting Agent’s E-Ballot platform by visiting
http://dm.epiq11.com/ditech, clicking on the “E-Ballot” link and following the instructions
set forth on the website. Holders are encouraged to submit their Ballots via the E-Ballot
platform. If you choose to submit your Ballot via the E-Ballot platform, you should NOT
submit your hard copy Ballot as well. Please choose only one method of return for your
Ballot.

                              If by U.S. Postal Service mail:
                                 Ditech Ballot Processing
                                 c/o Epiq Corporate Restructuring, LLC
                                 P.O. Box 4422
                                 Beaverton, Oregon 97076-4422

                              If by overnight delivery or personal delivery by
                                  hand:
                                 Ditech Ballot Processing
                                 c/o Epiq Corporate Restructuring, LLC
                                 10300 SW Allen Boulevard
                                 Beaverton, Oregon 97005


                              If by electronic submission:

                                 Visit http://dmepiq11.com/ditech. Click on the
                                 “E-Ballot” section of the Debtors’ website and
                                 follow the directions to submit your E-Ballot. If
                                 you choose to submit your Ballot via Epiq’s E-
                                 Ballot system, you should not also return a hard
                                 copy of your Ballot.

                                 IMPORTANT NOTE: You will need the
                                 following information to retrieve and submit
                                 your customized E-Ballot:

                                 Unique E-Ballot ID#:
                                 ____________________________

                              “E-Balloting” is the sole manner in which
                              Ballots will be accepted via electronic
                              transmission.



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              Ballots will not be accepted by telecopy, facsimile, or other electronic means of
transmission (except via the Voting Agent’s E-Ballot platform).

               The following Ballots will not be counted in determining the acceptance or
rejection of the Plan: (i) any Ballot that is illegible or contains insufficient information to
permit the identification of the holder, (ii) any ballot cast by a Person that does not hold a
Claim in a Class entitled to vote on the Plan, (iii) any unsigned Ballot, (iv) any ballot that
does not contain an original signature (for the avoidance of doubt, a Ballot submitted by the
E-Ballot platform shall be deemed to bear an original signature); and (v) any Ballot
transmitted to the Voting Agent by facsimile, or electronic transmission, or other electronic
means (other than Ballots entitled to be submitted via the Voting Agent’s online balloting
portal). An otherwise properly completed, executed, and timely returned Ballot failing to
indicate either acceptance or rejection of the Plan or indicating both acceptance and
rejection of the Plan will not be counted.

                    To properly complete the Ballot, you must follow the procedures described below:

          a.        Make sure that the information contained in Item 1 is correct;

          b.        If you have a Class 3 – Term Loan Claim, cast one vote to accept or reject the Plan
                    by checking the appropriate box in Item 2;

          c.        Make sure to read the information regarding the Releases in Item 3. Holders
                    of Claims who accept the Plan are automatically deemed to have consented to
                    the release provisions in Section 10.6(b) of the Plan. If you vote to accept the
                    Plan by checking the “accept” box in Item 2, but you also check the box in
                    Item 3, your election to opt-out with respect to the releases contained in Section
                    10.6(b) of the Plan will not be counted, as your vote in favor of the Plan shall
                    be deemed a consent to the third party release set forth in Section 10.6(b) of
                    the Plan to the fullest extent permitted by applicable law.

          d.        If you vote to reject the Plan or abstain from voting on the Plan and elect to
                    opt-out of the releases contained in Section 10.6(b) of the Plan, you must check
                    the box in Item 3. Election to withhold consent is at your option. The failure
                    to do so, whether or not you vote on the Plan, will be deemed your consent to
                    the releases contained in Section 10.6(b) of the Plan to the fullest extent
                    permitted by applicable law. Holders of Claims who accept the Plan may not
                    opt-out of the releases contained in Section 10.6(b) of the Plan.

          e.        If you are completing this Ballot on behalf of another entity, indicate your
                    relationship with such entity and the capacity in which you are signing on the
                    appropriate line in Item 4. By submitting the Ballot you are certifying that you
                    have authority to so act and agree to provide documents evidencing such authority
                    upon request (e.g., a power of attorney or a certified copy of board resolutions
                    authorizing you to so act);

          f.        If you hold other Class 3 – Term Loan Claims, you may receive more than one
                    Ballot. Your vote will be counted in determining acceptance or rejection of the

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                    Plan by a particular Class of Claims only if you complete, sign, and return the Ballot
                    labeled for such Class of Claims in accordance with the instructions on that Ballot.
                    Each Ballot votes only your Claims indicated on that Ballot. Please complete and
                    return each Ballot you receive;

          g.        You must vote all your Claims within a single Class under the Plan either to accept
                    or reject the Plan;

          h.        If more than one timely, properly completed Ballot is received, only the last
                    properly completed Ballot received by the Voting Agent will be counted, unless the
                    holder of the Claim receives Bankruptcy Court approval otherwise;

          i.        If you believe that you have received the wrong Ballot, please contact the Voting
                    Agent immediately;

          j.        Provide your name, mailing address, and any remaining information requested;

          k.        Sign and date your Ballot; and

          l.        Return your Ballot with an original signature to the Voting Agent. For the
                    avoidance of doubt, a Ballot submitted by the E-Ballot platform shall be deemed to
                    bear an original signature.

                    No Ballot shall constitute or be deemed a proof of Claim or an assertion of Claim.

               In the event that (i) the Debtors revoke or withdraw the Plan or (ii) the Confirmation
Order is not entered or consummation of the Plan does not occur, this Ballot shall automatically
be null and void and deemed withdrawn without any requirement of affirmative action by or notice
to you.

            IF YOU (A) HAVE ANY QUESTIONS REGARDING THIS BALLOT,
(B) DID NOT RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, (C) DID NOT
RECEIVE A LINK TO THE DEBTORS’ WEBSITE PAGE CONTAINING THE
DISCLOSURE STATEMENT AND PLAN, OR (D) NEED ADDITIONAL COPIES OF
THE BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE
VOTING AGENT AT (866) 897-6433 (DOMESTIC TOLL-FREE) OR (646) 282-2500
(INTERNATIONAL) AND REQUEST TO SPEAK WITH A MEMBER OF THE
SOLICITATION TEAM, OR BY E-MAILING TABULATION@EPIQGLOBAL.COM
WITH A REFERENCE TO “DITECH” IN THE SUBJECT LINE. PLEASE DO NOT
DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT. THE VOTING AGENT IS
NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.




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               IMPORTANT INFORMATION REGARDING THE
     INJUNCTION, RELEASES, AND EXCULPATION PROVISIONS IN THE PLAN

Select Defined Terms

“Creditors’ Committee” means the statutory committee of unsecured creditors appointed by the
U.S. Trustee in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code.

“Definitive Documents” means the documents (including any related orders, agreements,
instruments, schedules or exhibits) that are necessary or desirable to implement, or otherwise relate
to the Restructuring Transaction or the Sale Transaction, including, but not limited to: (a) the Plan;
(b) the Bidding Procedures; (c) the Disclosure Statement; (d) any motion seeking approval of the
adequacy of the Disclosure Statement, solicitation of the Plan, and the Bidding Procedures; (e) the
Disclosure Statement Order; (f) the Bidding Procedures Order; (g) the DIP Order; (h) each of the
documents comprising the Plan Supplement; (i) the Confirmation Order; (j) the GUC Recovery
Trust Agreement; (k) the Management Incentive Plan Term Sheet; and (l) any purchase agreement
in connection with the Sale Transaction or an Asset Sale Transaction.

“Exculpated Parties” means collectively the: (a) Debtors; (b) Reorganized Debtors; (c) Plan
Administrator; (d) the Wind Down Estates; (e) Consenting Term Lenders; (f) Prepetition
Administrative Agent; (g) Prepetition Warehouse Parties, (h) DIP Credit Parties; (i) Creditors’
Committee and each of its members in their capacity as such; (j) Exit Warehouse Facilities
Lenders; (k) National Founders; (l) GUC Trustee; and (m) with respect to each of the foregoing
Entities in clauses (a) through (l), all Persons and Entities who acted on their behalf in connection
with the matters as to which exculpation is provided herein.

“GUC Recovery Trust” means the trust established pursuant to the GUC Recovery Trust
Agreement.

“GUC Recovery Trust Agreement” means the trust agreement by and among the Debtors and the
GUC Trustee, substantially in the form included in the Plan Supplement and consistent with
Section 5.2(b) of the Plan; provided, that the GUC Recovery Trust Agreement shall be in form and
substance reasonably acceptable to the Creditors’ Committee, the Debtors, and the Requisite Term
Lenders.

“Related Parties” means with respect to any Exculpated Party or any Released Party, such Entities’
predecessors, successors and assigns, subsidiaries, Affiliates, managed accounts or funds, and all
of their respective current and former officers, directors, principals, stockholders (and any fund
managers, fiduciaries or other agents of stockholders with any involvement related to the Debtors),
members, partners, employees, agents, advisory board members, financial advisors, attorneys,
accountants, investment bankers, consultants, representatives, management companies, fund
advisors and other professionals, and such persons’ respective heirs, executors, estates, servants
and nominees.

“Released Parties” means collectively the: (a) Debtors; (b) Reorganized Debtors; (c) the Wind
Down Estates (if applicable); (d) Consenting Term Lenders; (e) Prepetition Administrative Agent;
(f) Prepetition Warehouse Parties; (g) DIP Credit Parties; (h) National Founders; (i) Creditors’


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Committee and each of its members in their capacity as such; (j) GUC Trustee; and (k) Related
Parties for each of the foregoing.

“Reorganization Transaction” means, collectively, (a) issuance of the New Common Stock; (b)
entry into the Amended and Restated Credit Facility Agreement; (c) entry into the Exit Working
Capital Facility Agreement; (d) entry into the Exit Warehouse Facilities Documents; (e) execution
of the Amended Organizational Documents; (f) vesting of the Debtors’ assets in the Reorganized
Debtors, in each case, in accordance with the Plan; and (g) the other transactions that the Debtors
and the Requisite Term Lenders reasonably determine are necessary or appropriate to implement
the foregoing, in each case, in accordance with the Plan, RSA, and the DIP Order.

“Reorganized Debtors” means, solely with respect to the Reorganization Transaction, the Debtors,
as reorganized pursuant to and under the Plan on or after the Effective Date.

“Sale Transaction” means the sale of all or substantially all of the Debtors’ assets, or Interests in
the Debtors owning all or substantially all of the Debtors’ assets, contemplated by the Successful
Bid.

“Wind Down Estates” means, solely with respect to the Sale Transaction, the Debtors pursuant to
and under the Plan on or after the Effective Date.



Select Provisions of the Plan

Section 10.5 of the Plan: Injunction

              (a)     Upon entry of the Confirmation Order, all holders of Claims and
Interests and other parties in interest, along with their respective present or former
employees, agents, officers, directors, principals, and affiliates, shall be enjoined from taking
any actions to interfere with the implementation or consummation of the Plan in relation to
any Claim extinguished, discharged, or released pursuant to the Plan.

               (b)     Except as expressly provided in the Plan, the Confirmation Order, or a
separate order of the Bankruptcy Court or as agreed to by the Debtors and a holder of a
Claim against or Interest in the Debtors, all Entities who have held, hold, or may hold Claims
against or Interests in the Debtors (whether proof of such Claims or Interests has been filed
or not and whether or not such Entities vote in favor of, against or abstain from voting on
the Plan or are presumed to have accepted or deemed to have rejected the Plan) and other
parties in interest, along with their respective present or former employees, agents, officers,
directors, principals, and affiliates are permanently enjoined, on and after the Effective Date,
solely with respect to any Claims, Interests, and Causes of Action that will be or are
extinguished, discharged, or released pursuant to the Plan from (i) commencing, conducting,
or continuing in any manner, directly or indirectly, any suit, action, or other proceeding of
any kind (including, without limitation, any proceeding in a judicial, arbitral, administrative
or other forum) against or affecting the Debtors, the Reorganized Debtors, or the GUC
Recovery Trust, or the property of any of the Debtors, the Reorganized Debtors, or the GUC
Recovery Trust; (ii) enforcing, levying, attaching (including, without limitation, any

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prejudgment attachment), collecting, or otherwise recovering by any manner or means,
whether directly or indirectly, any judgment, award, decree, or order against the Debtors,
the Reorganized Debtors, or the GUC Recovery Trust, or the property of any of the Debtors,
the Reorganized Debtors, or the GUC Recovery Trust; (iii) creating, perfecting, or otherwise
enforcing in any manner, directly or indirectly, any encumbrance of any kind against the
Debtors, the Reorganized Debtors, or the GUC Recovery Trust or the property of any of the
Debtors, the Reorganized Debtors, or the GUC Recovery Trust; (iv) asserting any right of
setoff, directly or indirectly, against any obligation due from the Debtors, the Reorganized
Debtors, or the GUC Recovery Trust or against property or interests in property of any of
the Debtors, the Reorganized Debtors, or the GUC Recovery Trust, except as contemplated
or Allowed by the Plan; and (v) acting or proceeding in any manner, in any place whatsoever,
that does not conform to or comply with the provisions of the Plan.

              (c)     By accepting distributions pursuant to the Plan, each holder of an
Allowed Claim or Interest extinguished, discharged, or released pursuant to the Plan will be
deemed to have affirmatively and specifically consented to be bound by the Plan, including,
without limitation, the injunctions set forth in this Section 10.5.

            (d)   The injunctions in this Section 10.5 shall extend to any successors of the
Debtors and the Reorganized Debtors and their respective property and interests in
property.

Section 10.6 of the Plan: Releases

                    (a)       Estate Releases.

               As of the Effective Date, except for the rights that remain in effect from and
after the Effective Date to enforce the Plan and the Definitive Documents, for good and
valuable consideration, the adequacy of which is hereby confirmed, including, without
limitation, the service of the Released Parties to facilitate the reorganization of the Debtors
and the implementation of the restructuring, and except as otherwise provided in the Plan
or in the Confirmation Order, the Released Parties will be deemed forever released and
discharged, to the maximum extent permitted by law, by the Debtors, the Reorganized
Debtors and their Estates, the Wind Down Estates, and the GUC Recovery Trust from any
and all Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of
Action, remedies, losses, and liabilities whatsoever, including any derivative claims, asserted
or assertable on behalf of the Debtors, or Reorganized Debtors (as the case may be), or the
Estates, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, that the Debtors or Reorganized Debtors (as the case may be), or the Estates
would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the holder of any Claim or Interest or other Person, based on or
relating to, or in any manner arising prior to the Effective Date from, in whole or in part,
the Debtors, the Chapter 11 Cases, the pre- and postpetition marketing and sale process, the
purchase, sale, or rescission of the purchase or sale of any Security of the Debtors, the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in
the Plan, the business or contractual arrangements between any of the Debtors and any


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Released Party, the restructuring, the restructuring of any Claim or Interest before or
during the Chapter 11 Cases, the Disclosure Statement, the RSA, the Plan (including the
Plan Supplement), the DIP Documents, and the Prepetition Warehouse Facilities (as defined
in the DIP Order), or any related agreements, instruments, and other documents (including
the Definitive Documents), and the negotiation, formulation, or preparation thereof, the
solicitation of votes with respect to the Plan, or any other act or omission, in all cases based
upon any act or omission, transaction, agreement, event or other occurrence taking place on
or before the Effective Date; provided, that nothing in this Section 10.6(a) shall be construed
to release the Released Parties from willful misconduct, or intentional fraud as determined
by a Final Order. The Debtors, the Reorganized Debtors and their Estates, the Wind Down
Estates, and the GUC Recovery Trust shall be permanently enjoined from prosecuting any
of the foregoing Claims or Causes of Action released under this Section 10.6(a) against each
of the Released Parties.

                    (b)       Third-Party Releases.

                As of the Effective Date, except (i) for the right to enforce the Plan or any right
or obligation arising under the Definitive Documents that remain in effect or become
effective after the Effective Date or (ii) as otherwise expressly provided in the Plan or in the
Confirmation Order, in exchange for good and valuable consideration, including the
obligations of the Debtors under the Plan and the contributions of the Released Parties to
facilitate and implement the Plan, to the fullest extent permissible under applicable law, as
such law may be extended or integrated after the Effective Date, the Released Parties shall
be deemed conclusively, absolutely, unconditionally, irrevocably and forever, released, and
discharged by:

                              (i)     the holders of Impaired Claims who voted to accept the Plan;

                              (ii)    the Consenting Term Lenders;

                           (iii) holders of Term Loan Claims (Class 3) who abstain from voting
                    on the Plan or vote to reject the Plan but do not opt-out of these releases on
                    the Ballots;

                           (iv)   the Creditors’ Committee and each of its members in their
                    capacity as such; and

                            (v)    with respect to any Entity in the foregoing clauses (i) through
                    (iv), such Entity’s (x) predecessors, successors and assigns, (y) subsidiaries,
                    affiliates, managed accounts or funds, managed or controlled by such Entity
                    and (z) all Persons entitled to assert Claims through or on behalf of such
                    Entities with respect to the matters for which the releasing entities are
                    providing releases.

in each case, from any and all Claims, Interests, or Causes of Action whatsoever, including
any derivative Claims asserted on behalf of a Debtor, whether known or unknown, foreseen
or unforeseen, existing or hereafter arising, in law, equity or otherwise, that such Entity
would have been legally entitled to assert (whether individually or collectively), based on,

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relating to, or arising prior to the Effective Date from, in whole or in part, the Debtors, the
restructuring, the Chapter 11 Cases, the pre- and postpetition marketing and sale process,
the purchase, sale or rescission of the purchase or sale of any security of the Debtors or
Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the restructuring of Claims and Interests
before or during the Chapter 11 Cases, the negotiation, formulation, preparation, or
consummation of the Plan (including the Plan Supplement), the RSA, the Definitive
Documents, the DIP Documents, the Prepetition Warehouse Facilities (as defined in the DIP
Order), or any related agreements, instruments, or other documents, the solicitation of votes
with respect to the Plan, in all cases based upon any act or omission, transaction, agreement,
event or other occurrence taking place on or before the Effective Date; provided, that
nothing in this Section 10.6(b) shall be construed to release the Released Parties from willful
misconduct or intentional fraud as determined by a Final Order. The Persons and Entities
in (i) through (v) of this Section 10.6(b) shall be permanently enjoined from prosecuting any
of the foregoing Claims or Causes of Action released under this Section 10.6(b) against each
of the Released Parties.

Section 10.7 of the Plan: Exculpation

                To the maximum extent permitted by applicable law, no Exculpated Party will
have or incur, and each Exculpated Party is hereby released and exculpated from, any claim,
obligation, suit, judgment, damage, demand, debt, right, cause of action, remedy, loss, and
liability for any claim in connection with or arising out of the administration of the Chapter
11 Cases, the postpetition marketing and sale process, the purchase, sale, or rescission of the
purchase or sale of any security of the Debtors; the negotiation and pursuit of the Disclosure
Statement, the RSA, the Reorganization Transaction or the Sale Transaction, as applicable,
the Plan, or the solicitation of votes for, or confirmation of, the Plan; the funding or
consummation of the Plan; the occurrence of the Effective Date; the DIP Documents; the
Prepetition Warehouse Facilities (as defined in the DIP Order); the administration of the
Plan or the property to be distributed under the Plan; the issuance of Securities under or in
connection with the Plan; or the transactions in furtherance of any of the foregoing; except
for fraud or willful misconduct, as determined by a Final Order. This exculpation shall be
in addition to, and not in limitation of, all other releases, indemnities, exculpations and any
other applicable law or rules protecting such Exculpated Parties from liability.




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PLEASE COMPLETE THE FOLLOWING:

Item 1. Amount of Class 3 Claim (Term Loan Claims). For purposes of voting to accept or
reject the Plan, the undersigned certifies that as of [_______], the undersigned holds a Class 3
Claim (Term Loan Claims) against the Debtors in the amount set forth below.


                               Amount:2                      $[_______________]




Item 2. Vote on the Plan. The undersigned holder of a Class 3 Claim (Term Loan Claims) in
the amount set forth in Item 1 above hereby votes to:

            Check one box only:                             Accept the Plan

                                                            Reject the Plan


Your vote on the Plan will be applied to each applicable Debtor in the same manner and in
the same amount as indicated in Item 1 and Item 2 above.

PLEASE TAKE NOTE THAT IF YOU SUBMIT THIS BALLOT TO THE VOTING
AGENT AND EITHER: (A) FAIL TO INDICATE WHETHER YOU ARE ACCEPTING
OR REJECTING THE PLAN OR (B) CHECK BOTH BOXES INDICATING THAT YOU
ARE BOTH ACCEPTING AND REJECTING THE PLAN, YOUR BALLOT WILL NOT
BE COUNTED IN DETERMINING THE ACCEPTANCE OR REJECTION OF THE
PLAN.




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    For voting purposes only; subject to tabulation rules.


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  IMPORTANT INFORMATION REGARDING CERTAIN RELEASES BY HOLDERS
                          OF CLAIMS:

 IF YOU RETURN A BALLOT AND VOTE TO ACCEPT THE PLAN, YOU ARE
 AUTOMATICALLY DEEMED TO HAVE CONSENTED TO THE RELEASE
 PROVISIONS IN SECTION 10.6(b) OF THE PLAN REGARDLESS OF WHETHER
 YOU CHECK THE BOX IN ITEM 3 BELOW. IF YOU VOTE TO REJECT THE PLAN
 OR ABSTAIN AND SUBMIT A BALLOT WITHOUT CHECKING THE BOX IN ITEM
 3 BELOW, YOU WILL BE DEEMED TO CONSENT TO THE RELEASES SET FORTH
 IN SECTION 10.6(b) OF THE PLAN. IF YOU FAIL TO SUBMIT A BALLOT, YOU
 WILL BE DEEMED TO HAVE CONSENTED TO THE RELEASES FOUND IN
 SECTION 10.6(b) OF THE PLAN.

 IF YOU VOTE TO REJECT THE PLAN OR ABSTAIN, YOU MUST OPT OUT OF THE
 RELEASES PROVIDED IN SECTION 10.6(b) OF THE PLAN BY CHECKING THE
 BOX IN ITEM 3 BELOW, IN ORDER TO NOT BE BOUND BY SUCH RELEASES.



Item 3. Optional Release Election. COMPLETE THIS ITEM 3 ONLY IF YOU VOTED
TO REJECT THE PLAN OR ARE ABSTAINING FROM VOTING ON THE PLAN IN
ITEM 2 ABOVE.

Check this box if you elect not to grant the releases contained in Section 10.6(b) of the Plan.
Election to withhold consent is your option.

                             The undersigned elects not to grant the releases contained in Section 10.6(b) of the
                              Plan.

Item 4. Acknowledgements and Certification. By signing this Ballot, the undersigned
acknowledges receipt of a Solicitation Package and acknowledges that the solicitation is being
made pursuant to the terms and conditions set forth therein. The undersigned certifies that as of
the Voting Record Date (a) it is the Holder of the Class 3 Claim (Term Loan Claims) identified in
Item 1 above or (b) the undersigned is an authorized signatory and has full power and authority to
vote to accept or reject the Plan on behalf of the Holder.




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                     Print or Type Name of Holder:                                ___________________________

                     Signature:                                                   ___________________________

                     Name of Signatory (if different than Holder)3:               ___________________________

                     If by Authorized Agent, Title of Agent:                      ___________________________

                     Street Address:                                              ___________________________

                     City, State, Zip Code:                                       ___________________________

                     Telephone Number:                                            ___________________________

                     E-mail Address:                                              ___________________________

                     Date Completed:                                              ___________________________




3
    If you are completing this Ballot on behalf of another person or entity, indicate your relationship with such person
    or entity and the capacity in which you are signing. You may be required to provide additional information or
    documentation with respect to such relationship.


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                                         SCHEDULE 3

                                   Consumer Borrower Notice




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
                                                                :
In re                                                           :      Chapter 11
                                                                :
DITECH HOLDING CORPORATION, et al.,                             :      Case No. 19-10412 (JLG)
                                                                :
                             Debtors.1                          :      (Jointly Administered)
                                                                :
--------------------------------------------------------------- X

            NOTICE OF (I) NON-VOTING STATUS OF CONSUMER BORROWERS
           (II) APPROVAL OF DISCLOSURE STATEMENT, (III) CONFIRMATION
         HEARING, AND (V) SALE AND CONFIRMATION OBJECTION PROCEDURES

                  You are receiving this notice because you have been identified by Ditech Holding
Corporation and its debtor affiliates (collectively, the “Debtors”) as a consumer borrower and your loan
may be serviced by Ditech Financial LLC (“Ditech”), Reverse Mortgage Solutions, Inc. (“RMS”) or any
of their affiliates. If you have an existing mortgage with or loan serviced by Ditech or RMS, your
obligations under your loan agreement are unchanged, and you should continue to make your mortgage or
other required payments on time and in full. The restructuring process has not changed where you send
your loan payments.

               1.         Approval of Disclosure Statement. On May 10, 2019, the Bankruptcy Court
approved the Amended Disclosure Statement for Amended Joint Chapter 11 Plan of Ditech Holding
Corporation and its Affiliated Debtors, filed May 9, 2019 (as may be amended, modified, or supplemented,
“Disclosure Statement”)2 in the Debtors’ chapter 11 cases, and thereafter entered an order (the “Disclosure
Statement Order”). The Disclosure Statement Order, among other things, authorizes the Debtors to solicit
votes to accept or reject the Amended Joint Chapter 11 Plan of Ditech Holding Corporation and its
Affiliated Debtors, filed on May 9, 2019 (as may be amended, modified, or supplemented, the “Plan”), a
copy of which is annexed as Exhibit A to the Disclosure Statement.
                 2.     Notice of Non-Voting Status. You are not entitled to vote on the Plan. Only
holders of Term Loan Claims (Class 3) are entitled to vote on the Plan. Our records indicate that you are
not a holder of a Term Loan Claim (Class 3) and therefore are not entitled to vote on the Plan.
YOU ARE RECEIVING THIS NOTICE BECAUSE YOU MAY HAVE A CLAIM OR RIGHT TO
PAYMENT FROM THE DEBTORS AND APPROVAL OF THE PLAN OR A SALE OF THE
DEBTORS MAY AFFECT YOUR LEGAL RIGHTS AND CLAIMS. YOU MAY WANT TO

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
      Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
      Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
      Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
      Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
      (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
      Drive, Suite 100, Fort Washington, Pennsylvania 19034.
2
      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such term in the
      Disclosure Statement or the Plan (as defined below), as applicable, or as the context otherwise requires.



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CONSULT A LAWYER. IN ADDITION, ON MAY 2, 2019 AN OFFICIAL COMMITTEE OF
CONSUMER CREDITORS (THE “CONSUMER CREDITORS’ COMMITTEE”) WAS
APPOINTED. INFORMATION ON THE CONSUMER CREDITORS’ COMMITTEE CAN BE
FOUND        ONLINE        AT     HTTP://DM.EPIQ11.COM/DITECH     AND
HTTPS://DM.EPIQ11.COM/DITECHCUSTOMER.    YOU MAY ALSO CONTACT THE
CONSUMER CREDITORS’ COMMITTEE OR ITS ADVISORS IF YOU HAVE ANY
QUESTIONS.
                 3.       Confirmation Hearing. A hearing to consider confirmation of the Plan
(the “Confirmation Hearing”) has been scheduled before the Honorable James L. Garrity, Jr., United
States Bankruptcy Judge, in Room 601 of the United States Bankruptcy Court for the Southern District of
New York (the “Bankruptcy Court”), One Bowling Green, New York, New York 10004, on
June 20, 2019 at 11:00 a.m. (prevailing Eastern Time). To the extent the Debtors pursue a Sale
Transaction, the approval of any such transaction will be heard at the Confirmation Hearing. In such a case,
the Debtors will provide subsequent notice of their decision to pursue a Sale Transaction. The Confirmation
Hearing may be adjourned or continued from time to time by the Bankruptcy Court or the Debtors without
further notice other than adjournments announced in open court or as indicated in any notice of agenda of
matters scheduled for hearing filed by the Debtors with the Bankruptcy Court. The Plan may be modified,
if necessary, prior to, during, or as a result of the Confirmation Hearing. You are not required to attend
the Confirmation Hearing.
                 4.       Objections to Sale and Confirmation. Responses and objections, if any, to
confirmation of the Plan or to a proposed Sale Transaction must: (a) be in writing; (b) state the name and
address of the objecting party and the amount and nature of the Claim or Interest of such party; (c) state
with particularity the basis and nature of any objection; (d) conform to the Bankruptcy Rules and the Local
Rules; (e) be filed with the Court together with proof of service (i) by registered users of the Bankruptcy
Courts’ case filing system, electronically in accordance with General Order M-399 (which can be found at
http://nysb.uscourts.gov) and (ii) by all other parties in interest, on a CD-ROM, in text-searchable portable
document format (PDF) (with a hard copy delivered directly to Chambers), in accordance with the
customary practices of the Bankruptcy Court and General Order M-399, to the extent applicable; and (f) be
served so as to be received no later than June 10, 2019 at 4:00 p.m. (prevailing Eastern Time) (the “Sale
and Confirmation Objection Deadline”), and on the requisite parties (the “Objection Notice Parties”).3
IF YOU FAIL TO FILE AND SERVE AN OBJECTION TO CONFIRMATION OF THE PLAN OR
TO A SALE TRANSACTION BY THE SALE AND CONFIRMATION OBJECTION DEADLINE,
YOU WILL BE BARRED FROM ASSERTING ANY OBJECTION TO CONFIRMATION OF
THE PLAN OR TO THE CONSUMMATION AND PERFORMANCE OF A SALE
TRANSACTION.
               5.       Discharge, Injunctions, Releases, and Exculpation and How Your Claim May
Be Affected. Please be advised that Article X of the Plan provides for discharge, injunctions, releases,
and exculpation of certain conduct. Information on discharge, injunctions, releases, and exculpation
may be found in sections 10.3 through 10.7 of the Plan.



3
      The Objection Notice Parties include: (a) Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New
      York 10153 (Attn: Alexander Welch and Gaby Smith); (b) Pachulski Stang Ziehl & Jones LLP, 780 Third
      Avenue, 34th Floor, New York, New York 10017 (Attn: Robert J. Feinstein, Bradford J. Sandler, and Steven W.
      Golden); and (c) Quinn Emanuel Urquhart & Sullivan, LLP, 51 Madison Avenue, 22nd Floor, New York, New
      York 10010 (Attn: Susheel Kirpalani, Benjamin I. Finestone, and Victor Noskov).



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Please be advised that Schedule 1 of the Plan contains information about certain non-discharged
consumer borrower claims that may affect you. Following the Effective Date, in the event of a
Reorganization Transaction, consumer borrowers will continue to be able to pursue certain claims
(referred to as “Borrower Non-Discharged Claims”)4 related to the origination or servicing of
mortgage or reverse mortgage loans. Nothing in the Plan releases any Claims by consumer
borrowers against a non-Debtor owner of a loan or other non-Debtor third parties for liability for
prepetition errors by the Debtors. Nothing in this Plan affects the obligations of the Debtors to
comply postpetition with applicable state and federal consumer laws. In the event of a Sale
Transaction, the treatment of Claims of borrowers will be addressed in the asset purchase agreement
and Plan. If the buyer does not assume borrower claims, such Claims will be entitled to recover from
the Debtors as General Unsecured Claims if such Claims are Allowed. If you have questions, you
should contact a lawyer.
                    6.        The Plan also contains other related provisions that may affect your rights against
the Debtors.
YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN, INCLUDING
THE DISCHARGE, INJUNCTION, RELEASE, AND EXCULPATION PROVISIONS, AS YOUR
RIGHTS MAY BE AFFECTED.
                 7.      Additional Information. Additional information relevant to consumer borrowers
may be found at https://dm.epiq11.com/DitechCustomer. If you have any questions, please call the
Debtors’ restructuring hotline at 866-486-4809 (Domestic) or 503-597-7698 (International). Any party in
interest wishing to obtain information about the solicitation procedures or copies of the Disclosure
Statement or the Plan should contact Epiq at the phone numbers listed above or in writing: Ditech Ballot
Processing, c/o Epiq Corporate Restructuring, LLC, 10300 SW Allen Boulevard, Beaverton, Oregon 97005
or by email at tabulation@epiqglobal.com with a reference to “Ditech Holding Corporation” in the subject
line. Interested parties may also review the Disclosure Statement and Plan free of charge on the internet
(http://dm.epiq11.com/Ditech). In addition, the Disclosure Statement and Plan are on file with the
Bankruptcy Court and may be reviewed for a fee by accessing the Bankruptcy Court’s website:
www.nysb.uscourts.gov. Note that a PACER password and login are needed to access documents on the
Bankruptcy Court’s website. A PACER password can be obtained at: www.pacer.psc.uscourts.gov.
Copies of the Disclosure Statement and Plan may also be examined by interested parties during normal
business hours at the office of the Clerk of the Bankruptcy Court. EPIQ IS NOT AUTHORIZED TO,
AND WILL NOT PROVIDE, LEGAL ADVICE.


Dated: _____________, 2019
       New York, New York




4
      Schedule 1 of the Plan identifying the Borrower Non-Discharged Claims is attached hereto as Exhibit 1.


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                                                      Exhibit 1

                                       Borrower Non-Discharged Claims

“Borrower Non-Discharged Claims” shall mean, Claims of Borrowers, to the limited extent such claims,
cross-claims, third-party claims, and counterclaims (a) do not result in any order, judgment, verdict, decree,
or arbitration award against the Debtors or Reorganized Debtors entitling any party to an award of monetary
damages, including, without limitation, attorneys’ fees or costs, penalties or fines (including, for the
avoidance of doubt, statutory penalties and fines) but excluding restitution, reimbursement, refunds, or
account credits relating solely to a final, non-appealable judgment that a Debtor made a servicing or
origination error, or committed fraud, and (b) are necessary for the resolution of the following actions:
  1.      A claim or defense involving the amount, validity, and/or priority of liens with respect to properties
          subject to mortgages (including reverse mortgages) owned or serviced by the Debtors, including
          quiet title suits, efforts by third parties to foreclose their liens, eminent domain and condemnation
          suits, corrective and reformation actions, disputes with home owners associations or common
          interest associations, code violation actions, tax sales, and other analogous causes of action;
  2.      A claim or defense brought by a bankrupt Borrower (including any heir, non-borrowing spouse,
          estate, and/or other successor in interest) who has sought, or may seek, bankruptcy protection under
          chapters 7, 11, 12, or 13 of the Bankruptcy Code (each, a “Bankrupt Borrower”) to:
            a)      assert a proof of claim, notice of payment change, notice of postpetition fee, expense, or
                    charge, or response to notice of final cure;
            b)      assert or continue to assert an objection to a motion to lift the automatic stay filed by the
                    Debtors in the Bankrupt Borrower’s bankruptcy case;
            c)      assert appeals with respect to items (a) and (b); or
            d)      seek accounting from the Debtors with respect to the underlying reverse mortgage loan;
  3.      A claim or defense that is the subject of § 363(o) of the Bankruptcy Code; or
  4.      A claim or defense brought by a Borrower on account of a Debtor’s alleged prepetition:
            a)      failure to comply with loan modification obligations;
            b)      improper assignment of deeds of trust;
            c)      violation of the Real Estate Settlement Procedures Act of 1974 (RESPA) (12 U.S.C. § 2601
                    et seq.), the Fair Credit Reporting Act (15 U.S.C. § 1681), and/or the Truth in Lending Act
                    (12 C.F.R. § 1026);
            d)      failure to remit payment to the taxing authority that results in penalties to the Borrower;
            e)      failure to remit payment to insurance authorities, the consequence of which includes both
                    a lapse in coverage and actual pecuniary harm to the Borrower; or
            f)      servicing errors directly relating to Debtors’ prepetition:
                     i.       misapplication of borrower payments;
                    ii.       miscalculations of loan principal amounts;
                   iii.       miscalculations of loan interest amounts; or
                   iv.        failure to credit funds to the correct account.


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